            Case 1:20-cv-02735-CRC Document 17 Filed 01/19/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    )
GIANNA WHEELER                      )
                                    )
                                    )               Civil Action No. 1:20-cv-2735-CRC
                  Plaintiff,        )
                                    )
                   v.               )
                                    )
AMERICAN UNIVERSITY ET AL.,         )
                                    )
                                    )               Judge Christopher R. Cooper
                  Defendants.       )
____________________________________)

              CONSENT MOTION FOR EXTENSION OF TIME TO FILE
         AMENDED COMPLAINT AND DEEM DEFENDANT STEPHEN KINZER’S
         MOTION FOR SUMMARY JUDGMENT MOOT WITHOUT PREJUDICE TO
                 REFILE AFTER FILING OF AMENDED COMPLAINT


       Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiff Gianna Wheeler respectfully

moves this Court to extend the deadline to file an amended complaint as of course, Federal Rule

of Civil Procedure 15(a)(1)(B), to March 1, 2021, and to deem Defendant Stephen Kinzer’s Motion

for Summary Judgment (ECF No. 13) moot without prejudice to refile after filing of Plaintiff’s

amended complaint. Counsel for Plaintiff has conferred with counsel for Defendants in this matter,

and all parties who have been served have consented to this motion in writing. In support of the

motion, Plaintiff states as follows:

       1.       Plaintiff filed the Complaint and Summons against American University, four

individual American University employees (the “AU Defendants”), three Metropolitan Police

Department (“MPD”) Officers, and one Doe Defendant on September 25, 2020.

       2.       Plaintiff served American University and the AU Defendants on October 30, 2020.

       3.       Plaintiff served MPD Officer Stephen Kinzer on November 13, 2020.
             Case 1:20-cv-02735-CRC Document 17 Filed 01/19/21 Page 2 of 3




        4.       This Court granted an unopposed extension of time to serve the remaining

Defendants, former MPD Officers Deborah Smith and Richard David, to February 22, 2021.

        5.       After receiving an unopposed extension from this Court, the AU Defendants filed

an Answer to the Complaint (ECF No. 12) on January 4, 2021.

        6.       After receiving two unopposed extensions from this Court, Defendant Stephen

Kinzer filed a Motion for Summary Judgment (ECF No. 13) on January 8, 2021. Defendant

Kinzer’s motion raises a number of factual assertions, allegedly supported by police body-worn

camera video footage of the incidents alleged in the Complaint. Plaintiff and her counsel have not

yet been able to view that footage because the parties are still working to draft a mutually agreeable

protective order, which the parties hope to present to this Court for consideration by January 22,

2021.

        7.       New counsel for Plaintiff is joining the case and needs additional time to enter an

appearance and to review case materials as well as the AU Defendants’ Answer, Defendant

Kinzer’s Motion for Summary Judgment, the video footage (once it becomes available under a

mutually agreeable protective order), and the operative Complaint.

        8.       Assuming that the filing of Defendant Kinzer’s Motion for Summary Judgment on

January 8, 2021 started the clock for the deadline to amend the complaint as of right, that deadline

would have been January 29, 2021. A thirty-day extension of that time would make the deadline

to amend March 1, 2021. The parties therefore agree to extend the deadline to file an amended

complaint as of right to March 1, 2021, without prejudice to a further extension if Plaintiff does

not receive access to the body camera footage on which Defendant Kinzer’s motion relies by

January 25, 2021.
              Case 1:20-cv-02735-CRC Document 17 Filed 01/19/21 Page 3 of 3




         9.       The parties further agree that the filing of an amended complaint will moot

Defendant Kinzer’s Motion for Summary Judgment (ECF No. 13) and that the Court should

therefore deem the motion moot now, without prejudice to refiling after the amended complaint is

filed.

         10.      Additionally, the deadline to serve the remaining defendants is February 22, 2021.

Extending the deadline to file an amended complaint will aid efficiency by ensuring that all

Defendants have the same deadline to respond to the amended complaint.

         11.      The requested extension is being made for good cause and in good faith, and not

for further purpose of delay. No party will be prejudiced if the requested extension is granted.

         12.      Pursuant to Local Rule 7(m), counsel has conferred with opposing counsel and all

parties served have consented to the motion.

 Dated: January 19, 2021                               Respectfully submitted,


                                                      /s/ Kaitlin R. Banner___________________
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